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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                           )
                                                    )                      Case No. 8:05CR378
                     Plaintiff,                     )
              v.                                    )
                                                    )                            ORDER
MARCO A. COVARRUBIAS,                               )
                                                    )
                     Defendant.                     )




       At the initial appearance of the defendant on the charges contained in the Indictment on file,
the United States moved to detain the defendant without bail pending trial on the basis that he was a
flight risk and a danger to the community. At the time of his initial appearance before the court, the
defendant was in the custody of Nebraska state authorities on state charges. Accordingly,
       IT IS ORDERED:
       The government’s motion for detention of Marco A. Covarrubias pursuant to the Bail Reform
       Act is held in abeyance pending the defendant’s coming into federal custody.
       IT IS FURTHER ORDERED:
       The defendant, Marco A. Covarrubias, having received notice of his return to the custody of
Nebraska state authorities pending the disposition of this matter and having waived an opportunity for
hearing in this matter pursuant to the Interstate Agreement on Detainers, 18 U.S.C. app § 9(2), the
U.S. Marshal is authorized to return the defendant, Marco A. Covarrubias, to the custody of Nebraska
state authorities pending the final disposition of this matter and the U.S. Marshal for the District of
Nebraska is directed to place a detainer with the correctional officer having custody of the defendant.
        November 2, 2005.
                                                         BY THE COURT:


                                                         s/ F.A. Gossett
                                                         United States Magistrate Judge
